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                         UNITED STATES DISTRICT COURT

                          DISTRICT OF SOUTH DAKOTA

                               CENTRAL DIVISION


ROBERT L. ERICKSON,                               3:16-CV-03015-KES

                  Plaintiff,

                                                       JUDGMENT
      vs.

UNITED STATES OF AMERICA,

                  Defendant.



      Plaintiff moves to voluntarily dismiss the present action. Docket 16. Good

cause appearing, it is

      ORDERED, ADJUDGED, AND DECREED that the above-titled action is

dismissed.

      DATED this 24th day of March, 2017.

                                    BY THE COURT:


                                    /s/ Karen E. Schreier
                                    KAREN E. SCHREIER
                                    UNITED STATES DISTRICT JUDGE
